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                               UNITED STATES DISTRICT COURT
17

18                     FOR THE NORTHERN DISTRICT OF CALIFORNIA

19                                    OAKLAND DIVISION

20                                     )         Case No. 4:19-cv-07123-PJH
     WHATSAPP LLC and                  )
21   META PLATFORMS, INC.,             )
22                                     )         PROPOSED VERDICT FORM
                     Plaintiffs,       )
23                                     )
            v.                         )         Pretrial Conference Date: April 10, 2025
24                                     )         Time: 2:00 p.m.
     NSO GROUP TECHNOLOGIES LIMITED )            Ctrm: 3
25   and Q CYBER TECHNOLOGIES LIMITED, )         Judge: Hon. Phyllis J. Hamilton
26                                     )         Trial Date: April 28, 2025
                     Defendants.       )
27                                     )
                                       )
28
       Case 4:19-cv-07123-PJH          Document 589         Filed 03/13/25   Page 2 of 4




 1          Plaintiffs WhatsApp LLC and Meta Platforms, Inc. (“Plaintiffs”) and Defendants NSO Group
 2   Technologies Limited and Q Cyber Technologies Limited (“Defendants”) (collectively, the
 3   “Parties”) hereby respectfully submit these Proposed Verdict Forms pursuant to the Court’s Case
 4   Management and Pretrial Order, Dkt. No. 168.
 5          The Parties were unable to agree on a Joint Proposed Verdict Form.
 6          The Proposed Verdict Forms are attached as follows:
 7          Exhibit A: Plaintiffs’ Proposed Verdict Form
 8          Exhibit B: Defendants’ Proposed Verdict Form
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     [PROPOSED] VERDICT FORM - CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 589           Filed 03/13/25     Page 3 of 4




      Dated: March 13, 2025
 1
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                                                  By:       /s/ Greg D. Andres
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                                                        2
     [PROPOSED] VERDICT FORM - CASE NO. 4:19-CV-07123-PJH
       Case 4:19-cv-07123-PJH          Document 589         Filed 03/13/25    Page 4 of 4




 1                                       FILER’S ATTESTATION
 2          Pursuant to Civil L. R. 5-1(i)(3), regarding signatures, Greg D. Andres hereby attests that
 3   concurrence in the filing of the document has been obtained from all of the signatories above.
 4
      Dated:     March 13, 2025                                   /s/ Greg D. Andres
 5
                                                                  Greg D. Andres
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     [PROPOSED] VERDICT FORM - CASE NO. 4:19-CV-07123-PJH
